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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION

United States of America,                     )
                                              )       ORDER GRANTING DEFENDANT’S
                       Plaintiff,             )       MOTION TO CONTINUE TRIAL
                                              )
       vs.                                    )
                                              )       Case No. 1:06-cr-066
Buck Zane Robideaux, a/k/a Chaske             )
White Eyes; David Wayne Arnold, a/k/a         )
David Tarpley; and Lawrence Wayne             )
Wallace,                                      )
                                              )
                       Defendants.            )

       Before the Court is the defendant David Wayne Arnold, a/k/a David Tarpley’s “Motion for

Continuance” filed on October 17, 2006. Trial is currently scheduled to commence on November

13, 2006. Defense counsel for David Wayne Arnold asserts he needs additional time to prepare for

trial and requests the trial be continued for a minimum of fifty days. Neither Arnold’s co-defendants

nor the Government object to a continuance.

       The Court finds that there is good cause to continue the trial and that the ends of justice are

best served by continuing the trial pursuant to 18 U.S.C. § 3161 (h)(8)(A). Accordingly, the Court

GRANTS the Defendant’s Motion to Continue Trial. (Docket No. 56). Trial shall be rescheduled

for Tuesday, January 9, 2007, at 9:30 a.m. in Bismarck before Judge Hovland. A four (4) day trial

is anticipated. All time which elapses from the date of this order until trial shall be excluded from

any Speedy Trial Calculation. See 18 U.S.C. § 3161(h)(8)(A), and (h)(8)(B)(iv).

       IT IS SO ORDERED.

       Dated this 18th day of October, 2006.

                                              /s/ Daniel L. Hovland
                                              Daniel L. Hovland, Chief Judge
                                              United States District Court
